16-01020-jlg       Doc 30      Filed 12/14/17        Entered 12/14/17 15:47:45              Main Document
                                                    Pg 1 of 1
                  Michael Faillace & Associates, P.C.
                                       Employment and Litigation Attorneys

60 East 42nd St. Suite 4510                                                   Telephone: (212) 317-1200
New York, New York 10165                                                       Facsimile: (212) 317-1620
_________




                                                                      December 14, 2017

BY ECF
Honorable James L. Garrity
United States Bankruptcy Judge
One Bowling Green
New York, NY 10004-1408

                 Re:      Cocoletzi et al v. Orly
                          No. 15-11650 (JLG); Adversary Proceeding No. 16-01020 (JLG)

Dear Judge Garrity:

        I provide this status report in accordance with the Court’s November 28, 2017 order. I

apologize for my inadvertent oversight in failing to submit this letter by yesterday.

        There have been no changes in the status of the action pending in the U.S. District Court

for the Southern District of New York that relates to this adversary proceeding. Plaintiffs intend

to file a motion for default judgment by the end of January.

        For this reason, we believe that the status conference scheduled for December 20, 2017

should be adjourned.

        We thank the Court for its attention to this matter.


                                                             Respectfully Submitted,

                                                             /s/ Joshua S. Androphy


cc:     Linda Tirelli, Esq.
        Attorney for Amir Orly
        (via ECF)




                          Certified as a minority-owned business in the State of New York
